Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 1 of 12

NVB 4001 (Rev. 12/15)

* * § 362 lNFOR|VIAT|ON SHEET * *

 

 

KONA GOLD. LLC 17-50562-BTB

DEBToR BK- lvloTloN #:
WooDBuRN & WEDGE CHAPTER: 11

lvlo\/ANT

 

Certification of Attempt to Resolve the Matter Without Court Action:

Moving counsel hereby certifies that pursuant to the requirements of LR 4007(a)l2l, an attempt has
been made to resolve the matter Without court action, but movant has been unable to do so.
Date.' 08/24/2017 Signature: /s/ Seth J. Adams, Esq.

Attorney for Movant

 

 

 

PROPERTY leoLvED lN THls lvloTloN: COnfeSSiOn Of Judgment

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NoTlcE sERvED 0N: Debtor(s) |__| ; Debror's counsel |_L| ; Trustee |_| ;
DATE OF SERV|CE: 08/24/2017
|\l|OV|NG PARTY'S CONTENT|ONS: DEBTOR'S CONTENT|ONS:
The EXTENT and PR|ORITY of L|ENS: The EXTENT and PR|ORITY of L|ENS:
13»[ N/A Confession of Judgment 1st
2nd 2nd
3rd 3rd
4th 4th
Other: Other:
Tota| Encumbrances: Tota| Encumbrances:
APPRA|SAL of OP|N|ON as to VALUE: APPRA|SAL of OP|N|ON as to VALUE:
TER|V|S of I\l|OVANT'S CONTRACT DEBTOR'S OFFER of "ADEQUATE
With the DEBTOR($);; PROTECTION"for I\l|OVANT :

Amount of Note:
|nterest Rate:
Duration:
Payment per |\l|onth:

Date of Default:

Amount in Arrears:

Date of Notice of Defau|t: _
SPEC|AL ClRCUl\/lSTANCES= SPEC|AL ClRCul\/lSTANCEs:

 

 

 

 

Seeking relief to pursue non-debtor,
co-ob|igor on Confession

 

/s/ Seth J. Adams, Esq. S|GNATURE_

 

 

 

 

 

 

 

 

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WOODBURN AND WEDGE
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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 2 of 12

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Nevada Bar No. 6883

SETH J. ADA|V|S, ESQ.
Nevada Bar No. 11034
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Sierra P|aza

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Fax: 775-688-3018
sadams@WoodburnandWedqe.com

Attorneys for Creditor,
WOODBURN AND WEDGE

UN|TED STATES BANKRUPTCY COURT

DlSTRlCT OF NEVADA

***

|n re: Case No. 17-50562-BTB
Chapter 11
KONA GOLD, LLC,
WOODBURN AND WEDGE’S
Debtor. MOT|ON FOR REL|EF TO PURSUE

CO-OBL|GOR STEVE DAV|S

Hearing Date: October 3, 2017

Hearing Time: 10:00 a.m.

Est.Time : 5minutes

SetBy : Se|f Caiendaring
/

 

CO|\/|ES NOW, Woodburn and Wedge, (hereafter “Woodburn”), a creditor in the
above captioned case, by and through its counsel Dane W. Anderson, Esq. and Seth J.
Adams, Esq., hereby moves this Court for an order vacating the automatic stay
provisions of 11 U.S.C. § 362(a) in order to pursue certain remedies under State LaW
and under a Confession of Judgment (“Confession") executed by the Debtor and by
Steve Davis (“QB”) a co-ob|igor Who is not a debtor in the instant case so that

Woodburn may proceed With its remedies under the Confession.

 

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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 3 of 12

This l\llotion is brought pursuant to the provisions of 11 U.S.C. § 362(d)(1) (for
cause), FRBP §4001(a) and FRBP §9014, and is supported by the following Points and

Authorities immediately hereafter.

/¢¢
DATED mist day of August, 2017.
WOODBURN and WEDGE

DANE vv. AN’DERsoN, Eso.
SETH J. ADAl\/lS, ESQ.
Attorneys for Woodburn and Wedge

PO|NTS AND AUTHOR|T|ES

l
lNTRODUCT|ON

1. ln or about November, 2013, the Debtor and Davis engaged Woodburn to
perform legal services on their behalves.
2. Woodburn performed substantial legal services on behalf of the Debtor
and Davis, including the defense and prosecution of various litigation matters.
3. Because Woodburn had not received payment for these legal services, it
entered into the Confession With the Debtor and Davis Who agreed to the entry of
judgment against them, jointly and severally, in favor of Woodburn in the principal
amount of $40,000.00. A copy of the Confession is attached hereto as Exhibit “1”.
4. Woodburn has not received payment pursuant to the Confession nor has
it received payment on services provided after the Confession Was executed until Kona
Gold, LLC filed bankruptcy on l\llay 4, 2017.
5. Woodburn seeks an order from this Court vacating the automatic stay to
the extent necessary for Woodburn to be able to pursue its contractual and State Law

remedies against Davis.

 

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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 4 of 12

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ARGUMENT lN SUPPORT OF REL|EF

6. Cause exists to terminate the automatic stay for cause under 11 U.S.C. §
362(d)(1).
7. Section 362(d)(1) of the Bankruptcy Code provides:

(d) On request of a party in interest and after notice and a hearing, the court shall
grant relief from the stay provided under subsection (a) of this section, such as
by terminating, annulling, modifying, or conditioning such stay -

(1) for cause, including the lack of adequate protection of an interest in
property of such party in interest;

8. Neither “Cause” nor “Good Cause" are defined terms within the
Bankruptcy Code. However Courts have used a multitude of factors in determining
whether cause existed to lift the automatic stay and have evaluated whether such cause
existed on a case-by-case basis. ln re Robbins, 964 F. 2d 342 (4th Cir. 1992).

10. Cause to terminate the stay in this case exists since Woodburn seeks relief
to pursue Davis, who is not a debtor in this case and whom is obligated, pursuant to the
Confession, jointly and severally to Woodburn.

11. Woodburn now seeks to vacate the automatic stay to the extent necessary
to permit Woodburn to proceed as against Davis pursuant to the Confession and seeks
an order from this Court confirming that Woodburn’s pursuit as against the non-bankrupt
co-obligor Davis, while possibly resulting in the liquidation of the claim as against the
Debtor should Woodburn satisfy the amounts due and owing under the Confession, will
not directly involve the administration of the Debtor’s case nor interfere with assets of
the Bankruptcy Estate.

12. Furthermore, the automatic stay provisions of 11 USC § 362 do not apply

as to the non-bankrupt, co-defendant/co-guarantor Steve Davis. However, to the extent
that the relief afforded to Woodburn by this stipulation, and any collection against Davis

on the Confession, may have the practical effect of liquidating the claim as against the

 

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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 5 of 12

Debtor, this limited relief from the automatic stay is being sought out of an abundance
of caution.

13. lf Woodburn obtains a full or partial satisfaction of the Confession, it will
file an amended proof of claim in this case, but it may not pursue judgment execution
efforts against the Debtor without a further order of this Court, provided, however, if this
case is dismissed without the Debtor receiving a discharge, Woodburn may then pursue
judgment execution efforts against the Debtor as allowed by law.

14. Given the foregoing, cause exists, pursuant to 11 U.S.C. § 362(d)(1) & (2
as well as 11 U.S.C. § 1301 (c)(2), to grant Woodburn relief from the automatic stay so
that it may exercise its rights underthe Confession and applicable State law. A proposed

order is attached hereto as Exhibit “2”.

ll|
CONCLUSION

For the reasons set forth above, Woodburn respectfully requests that this Court
vacate the automatic stay provisions of 11 U.S.C. § 362(d) to permit Woodburn to proceed
with its remedies under State Law.

LOCAL RULE 4001(a)(2) STATEMENT

ln accordance with Local Rule 4001(a)(2), | sent an email on August 14, 2017 to
Debtor’s counsel apprising him of Woodburn’s intent to seek relief from the automatic
stay. On August 21, 2017, l was informed that the Debtor did not oppose such.

M
DATEDthis l day of August, 2017.
WOODBURN and WEDGE

"DANE w. ANDERsoN, EsQ.
sETH J. ADAl\/ls, EsQ.

 

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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 6 of 12

ERT|F|CATE OF SERV|CE

l certify that l am an employee of the law firm of Woodburn and Wedge, and that
on the _ai day of August, 2017, l caused the foregoing document to be delivered to
the parties entitled to notice in this action by:

placing a true copy thereof in a sealed, stamped envelope with then
United States Postal Service at Reno, Nevada
personal delivery

email

j 4 electronic filing

Federal Express or other overnight delivery
as follows:

J. Craig Demetras
230 E. Liberty St.
Reno, NV 89501

jcd@demetras|aw.com

John White

335 First St.

Reno, NV 89503
iohn@whitelawchartered.com

Kern & Associates, LTD
5421 Kietzke Lane, Ste. 200
Reno, NV 89511
qavlekern@kernltd.com

;~S.

 

Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 7 of 12

EXH|B|T 1

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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 8 of 12

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Dane W. Anderson

Nevada Bar No. 6883

Shay L. Wells

Nevada Bar No. 12130
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Post Oflice Box 2311

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Telephone: (775) 688~3000

Attorneyjbr Plaintiyj'
IN THE SECOND IU'DICIAL DISTRICT COURT OF THE STATE OF NEVADA

IN AND FOR THE COUNTY OF WASHOE

 

 

WOODBURN AND WEDGE, CHARTERED, ' Case No.:
a Nevada professional eorporation,

Plaintiff,

Dept. No,: `
vs.

KONA GOLD, LLC, a Nevada limited liability
company; and STEVE DAVIS, an individual,

Dei`endants.

/
JUDGMl_i_lNT BY CONFESSION

Defendants KONA GOLD, LLC, a Nevada limited liability company (“Kona Gold”)
and STEVE DAVIS (“Davis”), an individual residing in Washoe County, Nevada, hereby

confess judgment in favor of Woodburn and Wedge, a Nevada professional corporation

(“Woodburn”), pursuant'to NRS 17.090 and NRS 17.100 as follows:

1. Kona Gold and Davis hereby expressly authorize the entry of judgment
against them, jointly and severally, and in favor of Woodburn in the principal amount of

$40,000.00, plus post-judgment interest at the statutory legal rate from the date of filing of

this confessed judgment until paid in full.

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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 9 of 12

2. Kona Gold and Davis confirm and swear that the above sum to which they
confess is justly due Woodburn, based on the following facts: v
a. In or about November 2013, Kona Gold and Davis engaged
Woodburn to perform legal services on their behalves.
b.. Woodburn has performed substantial legal services on behalf of Kona

Gold and Davis, including the defense and prosecution of various litigation matters.

c. The value of such services performed With respect to Kona Gold and
Davis is $40,000.00.
d. Woodburn has not been paid for those services and it entitled to

payment from Kona Gold and Davis, jointly and severally, in the amount of $40,00().00.
3. The Confessing Defendants declare under penalty of perjury of the laws of

the State of Nevada that the foregoing is true and correct

Executed on this 51 day of July, 2015.

KONA GOLD, L

By': §teve Davis
Its: Manager

Executed on this ?/ day of July, 2015

 

s‘l‘EvE DAv’Is '

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Affirmation pursuant to NRS 239B.030

The undersigned does hereby affirm that the preceding document does not contain

the social security number of any person

DATED this day of 2015.
Submitted by:

WOODBURN AND WEDGE

By

 

Dane W. Anderson, Esq.
Nevada Bar No. 6883
Attorneys for Plaintiff

Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 10 of 12

EXH|B|T 2

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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 11 of 12

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sadams@woodburnandwedqe.com

Attorneys for Creditor,
WOODBURN AND WEDGE

UN|TED STATES BANKRUPTCY COURT

DlSTRlCT OF NEVADA

'k~k*

ln re: Case No. 17-50562-BTB
Chapter 11
KONA GOLD, LLC,
ORDER GRANT|NG WOODBURN AND
Debtor. WEDGE’S MOT|ON FOR REL|EF TO
PURSUE CO-OBL|GOR STEVE.DAVIS

Hearing Date: October 3, 2017
Hearing Time: 10:00 a.m.

/

 

This matter came before the Court on October 3, 2017, on l\llotion for Relief from

 

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Case 17-50562-btb Doc 60 Entered 08/24/17 15:33:36 Page 12 of 12

the Automatic Stay filed herein on August 24, 2017, by Woodburn and Wedge
(“Woodburn”); it appearing from the record that notice of the l\llotion has been given as
required by law; no opposition to the l\llotion was filed by or on behalf of the Debtor of
the Trustee; good cause appearing,

|T |S HEREBY ORDERED that:

A. The automatic stay provisions of 11 USC § 362 are hereby vacated insofar
as they related to Woodburn based upon its claims against the Co-Obligor of a certain
Confession of Judgment in favor of Woodburn.

B. lf Woodburn obtains a full or partial satisfaction of the Confession, it will
file an amended proof of claim in this case, but it may not pursue judgment execution
efforts against the Debtor without a further order of this Court, provided, however, if this
case is dismissed without the Debtor receiving a discharge, Woodburn may then pursue

judgment execution efforts against the Debtor as allowed by law.

Prepared and Submitted By:

Dane W. Anderson, Esq.

Seth J. Adams, Esq.

Woodburn and Wedge

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